                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )        No. 3-08-00023
v.                                                )
                                                  )
OSCAR TOLEDO                                      )



                                                ORDER

            The defendant's motion to release properties serving as security for appearance bond (Docket
Entry No. 267) is GRANTED.

            The Clerk is directed to release the Deeds of Trust to the defendant's mother's home in

Cliffside Park, New Jersey, and his brother's home in North Bergen, New Jersey, listed as #2 and #4

on the attachment to his appearance bond (Docket Entry No. 48-1).

            The Clerk shall execute releases of those deeds of trust and/or sign the final pages of the

mortgage documents for both properties indicating that the liens in favor of the Clerk are satisfied

in full.1

            Defendant's counsel shall make arrangements to obtain the releases from the Clerk.

            It is so ORDERED.




                                                  JULIET GRIFFIN
                                                  United States Magistrate Judge




            1
        The deeds of trust are not filed so the Court is not able to determine what the final pages
of the mortgage documents are. The Court suggests that defendant's counsel confer with
Ms. LaRhonda Howard to determine what documents the Clerk should execute.


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